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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 GEORGIA STATE CONFERENCE
 OF THE NAACP, as an organization;
 et al.,
                                                                 1:17-cv-1427-TCB-WSD-BBM
                  Plaintiffs,

 v.

 STATE OF GEORGIA; et al.,

                  Defendants.


                                   OPINION AND ORDER

Before MARTIN, Circuit Judge, and DUFFEY and BATTEN, District Judges.

MARTIN, Circuit Judge:

       In this action, the Georgia State Conference of the NAACP and certain black

voters1 (“plaintiffs”) challenge the 2015 redistricting of Georgia House of

Representatives Districts 105 and 111. Plaintiffs say these Districts resulted from

unconstitutional gerrymandering 2 based on the race of voters. Doc. 1 ¶¶ 1–4, 20–


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          The individual plaintiffs are Lavelle Lemon, Marlon Reid, Lauretha Celeste Sims,
Patricia Smith, Coley Tyson, Austin Thompson, Darryl Payton, Audra Cunningham, Sabrina
McKenzie, Jamida Orange, Andrea Snow, Sammy Arrey-Mbi, Lynne Anderson, and Coretta
Jackson. See Complaint (“Compl.”), Doc. 1 ¶¶ 21–25; First Am. Compl. (“Am. Compl.”), Doc.
84 ¶¶ 21‒30. Mr. Reid, Ms. Smith, Mr. Tyson, and Mr. Thompson live in District 105. Doc. 1
¶¶ 22, 24, 25; Doc. 84 ¶ 21. Ms. Lemon, Ms. Sims, Mr. Swanson, and Mr. Payton live in District
111. Doc. 1 ¶¶ 21, 23; Doc. 84 ¶¶ 22, 23.
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           Gerrymandering is a term used to describe the drawing of legislative district lines by a
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25. This Order addresses plaintiffs’ request that we enjoin the State from holding

elections in Districts 105 and 111, as defined in Georgia Act No. 251, 2015 Ga.

Laws 1413 (“H.B. 566”). Doc. 103. After careful review, and with the benefit of

oral argument, we deny plaintiffs’ motion for a preliminary injunction.

                                       I. BACKGROUND

       The Georgia Constitution says that the electoral districts for members of the

Georgia House of Representatives “shall be changed by the General Assembly as

necessary after each United States decennial census.” Ga. Const. art. III, § 2, ¶ 2.

In keeping with our Constitution, the Georgia General Assembly redrew state

House of Representative districts in 2011. Compl. ¶ 39 (Act No. 1EX). Then in

2012, the General Assembly modified the House district map again. Id. ¶ 40 (Act

No. 277). The 2011 and 2012 redistricting plans were precleared by the United

States Department of Justice, as required by the Voting Rights Act of 1965. Id.

¶ 41. The 2015 plan at issue in this case was adopted after the Supreme Court’s

decision in Shelby County v. Holder, 570 U.S. 529, 133 S. Ct. 2612 (2013), and

was not precleared. Compl. ¶ 42. This lawsuit challenges the third redistricting

done after the 2010 census, which was enacted into law in 2015, by way of H.B.

566.



dominant political party to entrench itself in power at the expense of rival parties. See Ariz.
State Legislature v. Ariz. Indep. Redistricting Comm’n, 576 U.S. ___, 135 S. Ct. 2652, 2658
(2015).
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      The motion for preliminary injunction before us seeks to enjoin only two

House districts redrawn by H.B. 566: District 105 and District 111. District 105 is

in Gwinnett County. District 111 is in Henry County. These Districts were

redrawn in 2015, when the racial makeup of the area was changing. State

employees charged with reapportionment brought to light the “changing

demographics” in Henry and Gwinnett Counties. Deposition of Gina H. Wright

(“Wright Dep.”), Doc. 112 at 23:25–25:6; Deposition of Dan O’Connor

(“O’Connor Dep.”), Doc. 111 at 220:2–221:24; Deposition of Randall O. Nix

(“Nix Dep.”), Doc. 124 at 178:12–181:24.

      One person interested in the “changing demographics” was Dan O’Connor,

who works in the Georgia Legislative and Congressional Reapportionment Office.

In August 2014, Mr. O’Connor sent an email to Representative Chuck Efstration of

House District 104 noting that “white registration in [Gwinnett County] between

Jan 2000 and this month dropped by about 3,000 while black registration in

Gwinnett has quadrupled from 22,443 in 2000[] to 96,553 in the latest count.”

Doc. 103-3 at 1. In a February 2015 email to Speaker Pro Tem Jan Jones, Mr.

O’Connor noted that 2014 population data showed both District 105 and 111 to be

“at least 35% black in voter registration.” Doc. 103-4 at 1. Mr. O’Connor

continued, “Generally, once a district gets in the 30–35% black range, it becomes

more of a target for Democrats.” Id. This is because voting in Georgia is highly


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racially polarized. Expert Report of Jowei Chen, Ph.D. (“Chen Report”), Doc. 63-

1 at 4. Districts with large black populations are likely to vote Democratic. See

Doc. 103-17.

      Georgia House Districts 105 and 111 were political battlegrounds before the

2015 redistricting we consider here. In 2014, Representative Joyce Chandler, a

white Republican, won the District 105 election with only 52.8% of the vote. Doc.

103-87 at 3. Representative Brian Strickland, also white and Republican, won

District 111 with only 53.1%. Doc. 103-37 at 6. This made Districts 105 and 111

two of only three House Districts in Georgia’s 2014 election where Republicans

won by a margin of ten points or less. Id. at 1. And with the “changing

demographics” in the counties where these districts lie, there was good reason to

think the 2016 elections would be even closer.

      Both Representative Chandler and Representative Strickland went to Gina

Wright, who served as the Executive Director of the Reapportionment Office, to

enlist her help. Wright Dep. at 23:5–24; Deposition of R. Brian Strickland

(“Strickland Dep.”), Doc. 127 at 126:20–127:11. Ms. Wright’s office is located in

the same office building that houses Georgia’s legislators, but Representative

Chandler visited Ms. Wright both at her home and her office. Wright Dep. at

23:12–15; Nix Dep. at 58:25–60:1. Both Representatives Chandler and Strickland

also approached Representative Randall Nix, chair of the House Reapportionment


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Committee, to express their interest in redrawing the lines of the districts where

they had been elected, to increase their likelihood of being reelected. Nix Dep. at

139:16–141:18, 163:11–164:21.

      Reapportionment Office staff worked with the Representatives to redraw

their districts. The Reapportionment Office uses computer software known as

Maptitude to develop redistricting plans. Declaration of Gina H. Wright (“Wright

Decl.”), Doc. 137-1 ¶ 7. Maptitude shows the detailed effects of any given

redistricting option. For example, Maptitude can display information about the

performance of the Republican or Democratic parties, based on the election results

in any given precinct. Id. ¶¶ 7–8. Indeed Maptitude shows partisan data on a

street-by-street basis within a precinct, even though it only has partisan data for the

precinct as a whole. Thus, Maptitude’s street-by-street political data is nothing

more than the precinct-wide party-affiliation percentages assigned to streets based

on the number of people who live there. Id. ¶ 9; Wright Dep. at 106:7–13.

Maptitude can also display data about the race of the people living in a given area.

But since the race data comes from the census (as opposed to election results), it is

more detailed, and Maptitude can display precise information about people’s race

down to the street or block-level in any precinct. Chen Report at 32–33. Any

Maptitude user can choose what data to display, using “the pending changes box”

as she is working on a map. Wright Dep. at 105:10–16.


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       This record, taken as a whole, shows the redrawing of Districts 105 and 111

was a group effort. Representative Nix described one meeting in which Ms.

Wright and all the potentially affected legislators sat together and used Maptitude

to review options for redrawing the districts. Nix Dep. at 143:3–157:8.

Representative Nix testified that as Ms. Wright was “clicking around” different

options for redrawing the map, data about the race and political affiliation of the

voters in those districts were displayed on the screen. Id. at 148:8–12, 150:8–12,

151:2–9. He also said the meeting he attended was one of several held by

Reapportionment Office staff and interested members of the House of

Representatives to work through the redrawing of Districts 105 and 111. Id. at

155:18–156:13. And while Mr. O’Connor testified at his deposition that he had no

involvement in the 2015 redrawing of Districts 105 and 111, O’Connor Dep. at

134:13–20, 140:4–5, Representative Nix said he talked to Mr. O’Connor “probably

daily” as the 2015 maps were coming together.3 Nix Dep. at 92:4–12, 93:6–20.

The record supports a conclusion that any changes made to Districts 105 and 111

were vetted and approved by interested legislators and Mr. O’Connor.


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          In her declaration, Ms. Wright also said she did not discuss the redrawing of Districts
105 and 111 with Mr. O’Connor. Wright Decl. ¶ 20. This is somewhat at odds with her
deposition testimony that she could not recall whether she had such discussions. Wright Dep. at
192:17–193:14. In her deposition, Ms. Wright also said she spoke with Mr. O’Connor “pretty
much daily.” Id. at 192:21–193:1. And there is evidence that at least one meeting was scheduled
between Ms. Wright, Mr. O’Connor, and Representative Strickland in December 2014 to discuss
District 111. Doc. 103-37 at 1.


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      Even so, Ms. Wright says in her declaration that she “alone worked on that

portion of the HB 566 (2015) redistricting plan that touched any part of Gwinnett

and Henry County, including HD 105 and HD 111.” Wright Decl. ¶ 5. In her

deposition, Ms. Wright discussed her general process for mapping in reference to

the 2011 redistricting process:

      When I work on a plan, I use the pending changes box, which is a
      feature in Maptitude that shows you how your numbers change as you
      select that geography you’re selecting. . . . And you can set and move
      which fields you want to have in that change box as you go. So for
      me I usually keep a combination. I like to have the political data there
      as well as other data, racial data, population data, all of those other
      things.

Wright Dep. at 105:10–16. In her declaration, though, Ms. Wright says she did not

keep race data open in her pending changes box while redrawing Districts 105 and

111. Wright Decl. ¶ 10. Instead, Ms. Wright says she considered only partisan

and population data. Id. Ms. Wright says she looked at race data only when she

finished redrawing the districts “to make sure that [she] did not do significant harm

in that respect as well.” Wright Dep. 30:6–8; see also Wright Decl. ¶ 22, 40.

      In the end, the new versions of Districts 105 and 111 were drawn in the

legislative office building by some combination of Reapportionment Office staff

and legislators. While Representative Nix made much of the fact that no changes

were made to districts unless all affected legislators agreed, Nix Dep. at 79:19–

80:5, nothing in this record suggests the affected communities had any input.


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Neither does the legislative process suggest transparency or public engagement.

H.B. 566 was introduced to the House on March 5, 2015. Doc. 103-53 at 1. The

bill itself contains no maps—simply a list of precincts and numbers.4 See H.B.

566. Representative Nix described the bill best when he said, “[i]f you look at the

bill, there’s not a whole lot of detail that anybody can look at and get out of that”

without assistance from the Reapportionment Office. Nix Dep. at 182:24–183:3.

The House Reapportionment Committee voted to approve the bill at the one and

only hearing it ever held about it on March 9. Doc. 103-63 at 1; Nix Dep. at

186:9–11. This committee meeting was also the first time legislators, other than

those who had been involved in the redrawing process, ever saw the maps. Nix

Dep. at 183:12–20. Two days later, the full House unanimously voted in favor of

redistricting Districts 105 and 111, when it passed H.B. 566. Doc. 103-53 at 1.

      Mr. O’Connor prepared a summary of H.B. 566 in which he offered an

explanation for the redrawing: “District line changes can be made for a variety of

reasons—as some examples, eliminating a split precinct (a precinct divided into


      4
          For example, the portion of H.B. 566 defining District 105 begins:

      District 105
      Gwinnett County
      VTD: 135001 – HARBINS A
      050608:
      2005 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017
      2018 2019 2020 2021 2022 2023 2024 2025 2026 2027 2028 2029
      2030 2031 2032 2033 2034 2036 2037 2038 2039 2040 2041 2056
      2057 2058 2059
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multiple districts), reuniting a neighborhood or community of interest, or

addressing technical concerns.” Doc. 103-64 at 2; see also O’Connor Dep. at

133:7–134:12. But in his deposition, Mr. O’Connor said he did not recall if any of

those justifications for redistricting were actually served by the redrawing of

Districts 105 and 111. Id. at 134:6–136:4. Similarly, Ms. Wright testified she

worked to adhere to traditional redistricting criteria like these in redrawing

Districts 105 and 111, including compliance with state and federal law, improving

contiguity and compactness, and keeping counties, precincts, and communities of

interest together. Wright Dep. at 20:24–21:12. “Further down” on the list of

priorities, she said, “would be incumbency.” Id. at 21:9–10. But in redrawing

Districts 105 and 111, Ms. Wright acknowledged her “objective was to make these

districts, if at all possibly anyway, better for these incumbents to get reelected.”

Id. at 30:1–3.

      It is true, as Ms. Wright testified, that there are ways in which the new maps

of Districts 105 and 111 maintained the traditional principles of redistricting. But

more often, the new maps had a negative impact on these principles. For example,

the new maps created districts that were less compact; deviated more from the

ideal district size; split more municipalities across district lines; and split more

districts across county lines. Chen Report at 3, 26–31. The new maps kept the

same number of split precincts in District 105 but more than doubled the number


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of split precincts in District 111, which went from two to five. Id. at 29–30. And

while Representative Nix characterized the changes proposed in 2015 as “very

minor,” Nix Dep. at 62:8, the new versions of Districts 105 and 111 look quite

different from the old. An expert for the plaintiffs calculated that nearly 15,000

people were moved in or out of District 105, and over 31,000 people were moved

in or out of District 111. Expert Report of Dr. Gerald R. Webster (“Webster

Report”), Doc. 62-1 at 3. These numbers are significant where the target

population of a House district is 53,820 people. Id.

      No one disputes the new maps gave Districts 105 and 111 more white voters

and fewer black voters. In total, the black share of the voting age population in

both districts decreased by just over 2% as a result of the redistricting. Chen

Report at 25. This may not seem like much, but speaking in terms of percentages

distracts from the fact that the redistricting likely changed the outcome of the 2016

election in both Districts 105 and 111. Id. at 21–22. If the old maps had been

used, both districts would have become significantly more diverse, and

significantly more Democratic. Id. at 10. Plaintiffs’ expert estimated that the

percentage of black voter turnout in the 2016 District 105 election was more than

four points lower than it would have been had the old map been used. Id. at 14. In

District 111, the percentage of black voter turnout was estimated to be almost three

points lower than it would have been under the old map. Id. at 15. But in any


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event, the redistricters were not trying to change the demographic makeup of

Districts 105 and 111 dramatically. Their express purpose was to change Districts

105 and 111 just enough to protect the incumbents there, without endangering the

incumbent Republican House members in the neighboring districts.

      And that’s exactly what they did. Under the new map, Representatives

Chandler and Strickland were both narrowly reelected. Representative Chandler

won in District 105 with 50.5% of the vote to 49.5% for her Democratic

challenger. Doc. 103-87 at 5. Representative Strickland won District 111 with

51.7% of the vote to 48.3% for his Democratic challenger. Id. at 6. An expert for

the plaintiffs estimated that if the 2016 elections had been held using the old maps,

both Representatives Chandler and Strickland would have lost. Chen Report at

21–22. Even Mr. O’Connor agreed that both Representatives likely would have

lost their seats had their districts not been redrawn. O’Connor Dep. at 90:11–19.

                                    II. ANALYSIS

      A preliminary injunction is “an extraordinary remedy that may only be

awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22, 129 S. Ct. 365, 376 (2008). To

warrant a preliminary injunction, a moving party must establish: “(1) a substantial

likelihood of success on the merits of the underlying case, (2) the movant will

suffer irreparable harm in the absence of an injunction, (3) the harm suffered by the


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movant in the absence of an injunction would exceed the harm suffered by the

opposing party if the injunction issued, and (4) an injunction would not disserve

the public interest.” N. Am. Med. Corp. v. Axiom Worldwide, Inc., 522 F.3d

1211, 1217 (11th Cir. 2008) (quotation omitted).

      No party to this lawsuit disputes that redrawing Districts 105 and 111 made

them more white and less black. But to state a claim for racial gerrymandering, the

plaintiffs must show more than that. They must show “that race was the

predominant factor motivating the legislature’s decision to place a significant

number of voters within or without a particular district.” Bethune-Hill v. Va. State

Bd. of Elections, 580 U.S. ___, 137 S. Ct. 788, 794 (2017) (quotation omitted). A

plaintiff can make that showing “either through circumstantial evidence of a

district’s shape and demographics or more direct evidence going to legislative

purpose.” Miller v. Johnson, 515 U.S. 900, 916, 115 S. Ct. 2475, 2488 (1995).

      This is particularly hard to do when the State offers a defense rooted in

partisan gerrymandering, as it did here. We did not move these voters because

they are black, the State tells us. We moved them because they were Democrats.

And under current Supreme Court precedent, the State tells us this motive is

perfectly acceptable. But if the State has “placed a significant number of voters

within or without a district predominantly because of their race,” they have

engaged in unconstitutional racial gerrymandering, even if the ultimate objective of


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those moves was partisan advantage. Cooper v. Harris, 581 U.S. ___, 137 S. Ct.

1455, 1473 n.7 (2017) (quotation omitted and alteration adopted).

      This record documents that Ms. Wright had racial data available to her for

redrawing Districts 105 and 111. She testified that race data was available on

Maptitude down to the census-block level. Wright Dep. at 25:4–26:8, 105:24–25.

In contrast, data about political affiliation was accurate only on a precinct-wide

basis. As we’ve described, this meant Maptitude had much more granular data

about race than about political affiliation. Chen Report at 32–33. Also, Ms.

Wright testified her general practice was to keep open a box in Maptitude that gave

the racial data for any potential district. Wright Dep. at 105:10–23.

Representative Nix corroborated this with his testimony that racial data was visible

on the Maptitude display at one of the group sessions where Ms. Wright tried out

various options for new district boundaries. Nix Dep. at 150:8–12. And of course,

Ms. Wright admitted she “eventually” looked at race data “to make sure that [she]

did not do significant harm in that respect as well.” Wright Dep. at 30:6–7. Also,

although Ms. Wright ultimately denied having racial data visible while drawing the

new lines for Districts 105 and 111, her testimony indicates that she knew where

black residents were located on the maps. After all, she saw the location of black

residents both when reviewing potential redistricting options with the affected

House members before she undertook to finalize the lines, and after she had


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finalized them. Wright Dep. at 29:19–30:9, 105:10–23; Nix Dep. at 150:8–12.

This being the case, can anyone say the process for redrawing House Districts 105

and 111 was blind to the race of possible voters?

      This record leaves no doubt that Ms. Wright, Mr. O’Connor, and all the

other stakeholders involved, knew plenty about the racial demographics of

Districts 105 and 111. Mr. O’Connor certainly knew about the racial effects of

H.B. 566. He wrote an email the day after the House Reapportionment Committee

approved the bill, explaining that as a result of the new map, “the black percentage

in Rep. Chandler’s district [District 105] drops by two points . . . while Rep.

Efstration’s district [adjacent to District 105] increases from 22% to 24% black.”

Doc. 103-65. This email supports an inference that those involved in the

redistricting were keeping a close eye on race, and considered a decrease in “the

black percentage” in District 105 to mean they’d accomplished their mission.

      The plaintiffs’ evidence that race predominated this redistricting process is

compelling. They have documented that the whole idea of redistricting House

Districts 105 and 111 arose amidst talk about the changing demographics in

Gwinnett and Henry Counties. Plaintiffs also point to the large and increased

number of split precincts in the new map, especially in District 111. Splitting

precincts increases the unpredictability of political data. Mr. O’Connor explained

the problem with relying on political data from less than a whole precinct in an


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email sharing results from the 2016 presidential election. He wrote:

      Keep in mind that a lot of districts are estimated because of split
      precincts (that is, precincts which have two or maybe even 3 districts
      within them—unfortunately, precinct lines and district lines do not
      coincide all the time). Split precincts make data accumulation on
      State House districts very difficult.

Doc. 103-47 at 3. Again, this difficulty arises because partisan data is only

available on a precinct-wide basis. Any attempt to estimate partisan data at the

sub-precinct level can therefore only be that—an estimate. The testimony of Ms.

Wright and Robert Strangia, another Reapportionment Office employee, makes

clear that Maptitude only made a rough estimate of partisan data when providing

that data for less than a whole precinct. Wright Dep. at 110:10–111:8; Deposition

of Robert M. Strangia (“Strangia Dep.”), Doc. 110 at 25:12–26:22. To estimate

partisan data for less than the whole precinct, Maptitude assumes the proportion of

Democratic and Republican voters is the same throughout the precinct. Strangia

Dep. at 25:12–26:22. There is no street-by-street data, like with race. As a result,

“it is impossible for a map-drawer to gain detailed knowledge of whether one split

portion of a precinct is more heavily Democratic or Republican-leaning than

another split portion of the same precinct.” Chen Report at 32–33. Or at least, it

would be impossible for the map-drawer to gain such knowledge if she only relied

on the partisan data available in Maptitude.

      In fact, it is very unlikely that the split precincts in Districts 105 and 111 had


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the same proportions of Democrats and Republicans throughout. But in order to

know this, we must rely on the fact that these districts are racially polarized, then

look at the street-by-street racial data available on Maptitude. Plaintiffs’ expert

points out that in six of the eight split precincts at issue in this case, the new maps

pulled in portions of precincts with lower percentages of black voters, and left out

portions with higher percentages of black voters. Chen Report at 34. Sometimes

dramatically so. For example, the portion of the McDonough Central precinct

inside District 111 had a voting age population that was 26.9% black, while the

portion left outside was 50.1% black. Id. at 38. And the extreme racial

polarization of voting in this district meant that the portion of McDonough Central

inside of District 111 was more likely to vote Republican than the portion left

outside. See id. at 2. Plaintiffs say all of these favorably split precincts show that

Ms. Wright and her colleagues impermissibly used race as an effective proxy for

party in deciding where to draw district lines. Certainly, if the redistricters just

guessed, based on estimates of party affiliation, that splitting precincts the way

they did would result in favorable outcomes for their candidates, they got pretty

lucky. This is not direct evidence of racial gerrymandering, but it is circumstantial

evidence that we find persuasive.

      The State counters this argument by noting that, in many cases, it would not

have been possible to include the other halves of the split precincts, with relatively


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larger proportions of potential black voters, and maintain contiguous districts.

Doc. 137 at 30–31. But analyzing what Ms. Wright did not do in terms of splitting

these precincts diverts us from our more important task of examining why she split

these precincts in the first place. Republicans knew they were working with

narrow margins for these districts. If they did not move enough Republicans into

Districts 105 and 111, Representatives Chandler and Strickland would lose their

seats. If they moved too many Republicans into their districts, the neighboring

Republican seats would be at risk. Splitting precincts was risky. It made it harder

to know the exact political consequences of redrawing a district in a particular way

because there was no available data to say whether one portion of a precinct was

more or less Republican than another. And Ms. Wright redrew District 111 to

have five split precincts, out of a total of thirteen. Chen Report at 9, 28. This

meant Ms. Wright did not have accurate partisan data for more than a third of the

precincts in District 111. Yet she was startlingly effective in aid of the white

Republican incumbents she was trying to help.

      The precise and effective results she got make it hard to accept that Ms.

Wright and her colleagues did not have precise data directing the choices they

made. Plaintiffs ask us to infer that Ms. Wright and her colleagues looked at the

available block-by-block racial data on Maptitude in order to estimate political

outcomes and give them some comfort in how to split precincts. This inference is


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certainly supported by circumstantial evidence. Beyond that, this record also

supports the idea that Mr. O’Connor or the representatives themselves were

familiar enough with the racial makeup of the relevant neighborhoods to just know

it. The expert for the State seemed to have this sense as well. Referring to Mr.

O’Connor, that expert testified:

      If he had knowledge of this particular area, then he could probably tell
      you something about the politics of—I mean, I know—I don’t know
      him personally, but I’ve worked before with local political experts
      who can tell you almost block by block what a neighborhood is like.
      This neighborhood was established by Polish workers who came to
      work in a boiler factory. They’re now over 65. The neighborhood is
      now half Hispanic. But people have intense local knowledge that’s
      really much richer than what you’d get from tract level census data or
      precinct level demographics.

Deposition of John R. Alford, Doc. 145 at 35:13–36:1. Regardless of how the

redistricters knew the information about the racial distribution of voters within a

precinct, if they used that information to decide where to split particular precincts,

or whether to split precincts at all, they engaged in impermissible racial

gerrymandering.

      Plaintiffs’ expert testimony on split precincts is compelling. Yet we

recognize that it does not rise to the level of the evidence found sufficient in Bush

v. Vera, 517 U.S. 952, 116 S. Ct. 1941 (1996). There, the Supreme Court pointed

to the surgical precision with which redistricters drew lines around black

neighborhoods and the “extreme and bizarre” district lines that resulted. Id. at 971,


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116 S. Ct. at 1957. The redrawn shapes of Districts 105 and 111 are much less

egregious, and Ms. Wright offers a race-neutral reason for each line-drawing

decision she made. For example, Ms. Wright testifies she relied on Maptitude’s

political data estimates in deciding where to draw each district line. Wright Decl.

¶¶ 7–8. And for District 105, she points out that Maptitude’s political estimates

calculated the new district to be 5% more Republican than the old. Id. ¶ 21. This

case therefore turns on a credibility determination, where one side has taken an

oath that race was not a factor in how the redistricting lines were drawn, and the

other side is not in a position to swear that it was. On this record, the

“extraordinary remedy” of a preliminary injunction is not warranted.5 See Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24, 129 S. Ct. 365, 376 (2008).

       The concurring opinion agrees that this result is “indisputably correct,” yet it

characterizes our analysis as “impugn[ing] the veracity of state employee witnesses

who testified in depositions under oath.” Conc. Op. at 26–27, 31. But of course,

we have denied plaintiffs the preliminary injunction they seek precisely because

we found that plaintiffs cannot refute Ms. Wright’s testimony about how and why

she drew the maps. At the same time, when our review of the record revealed

contradictions in the testimony presented to us, we have viewed it as our obligation
       5
         Having decided that plaintiffs do not show a substantial likelihood of success on the
merits, we do not reach the remaining preliminary injunction factors. See Schiavo ex rel.
Schindler v. Schiavo, 403 F.3d 1223, 1226 (11th Cir. 2005) (“Controlling precedent is clear that
injunctive relief may not be granted unless the plaintiff establishes the substantial likelihood of
success criterion.”).
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to take those complexities into account. That being the case, we recognize that the

statements of Ms. Wright and Mr. O’Connor are sometimes at odds with other

evidence in the record. For that reason, we reject the concurring opinion’s

“veracity characterizations,” id. at 27, based solely on the videotaped depositions

of Ms. Wright and Mr. O’Connor, without recognition of other contradictory

statements and documents that are plainly a part of this record.

      The concurring opinion also faults this opinion for “fail[ing] to provide

critical facts necessary to explain the ultimate conclusion reached on plaintiffs’

preliminary injunction motion.” Id. at 27–28. In support, the concurring opinion

points to two pieces of evidence we omit from our recounting of the facts. We

address each in turn.

      First, the concurrence highlights Representative Nix’s testimony that he

decided to proceed with redistricting for non-political reasons, including members’

desires “to move a boundary to encompass family members or recently purchased

land or reunite previously-split precincts.” Id. at 28–29. But Representative Nix’s

testimony in this regard was about districts redrawn as part of H.B. 566 other than

Districts 105 and 111, which are the subject of this motion. Representative Nix’s

complete testimony listed a number of districts and representatives who asked for

redistricting based on non-political reasons, like accommodating family members

and purchases of property. Notably, Representatives Chandler and Strickland were


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nowhere on this list. Nix Dep. at 62:19–66:5. And as we’ve already described,

Representative Nix also testified that both Representatives Chandler and Strickland

approached him about redrawing their districts so they could improve their

political performance. Id. at 141:14–18, 163:11–164:1.

      Second, the concurrence cites from Ms. Wright’s deposition, where she

described her “understanding about the changing demographics in Gwinnett

County” in terms of the changing political affiliation of voters in the county.

Conc. Op. at 29–30. The concurrence says we misrepresent the record by implying

that Ms. Wright and others used “changing demographics” to refer to changes in

the racial makeup of districts rather than any host of other statistical characteristics.

Id. at 28 n.2, 29–30. Yet the concurrence’s charge against us does not change our

understanding of Ms. Wright’s deposition testimony. We still read her testimony

to indicate that she viewed “demographics” as a shorthand for race, politics, or

some combination of the two. See, e.g., Wright Dep. 90:5–10 (“Q: Did you also

know that there was a large growth in the black population? A: I don’t know that I

knew the numbers of it, but as we mentioned before, yes, we knew there was

changing demographics and growth in different areas, so.”). And based on the

racially polarized voting in Georgia, Ms. Wright’s and others’ conflation of race

and politics is hardly surprising. We set out to write an accurate opinion with a

thorough account of the record. Our careful review of the points made in the


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concurring opinion does not convince us that we failed in this regard.

      We do feel it necessary to correct the record regarding the concurring

opinion’s characterization of our conclusion. The concurrence says we have

“conjure[d] up a group sitting in a room clicking on Maptitude to move black

voters from one district to another with the intent to depress black voter strength.”

Conc. Op. at 29. As for the group sitting in a room clicking on Maptitude, our

opinion conjured this up only to the extent that we rely on the testimony of

Representative Nix that it happened. He plainly testified that interested parties did

indeed sit together in a room and click through Maptitude in an attempt to draw

safer Republican districts. Nix Dep. at 143:3–157:8. But nowhere in this opinion

have we found that this group gathered “with the intent to depress black voter

strength.” If the record supported such a conclusion, a preliminary injunction

would properly be entered. As we’ve said, we view the plaintiffs’ evidence to be

compelling. However, precisely because that evidence fell short of documenting

an “intent to depress black voter strength,” we have concluded no preliminary

injunction is warranted.

                                  III. CONCLUSION

      Both Representative Strickland and Representative Chandler downplayed

the impact of redistricting on their reelections. “I think I outworked” my

challenger, Representative Strickland said. Strickland Dep. at 119:16. “I just have


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to work hard, period,” Representative Chandler said. Deposition of Joyce H.

Chandler (“Chandler Dep.”), Doc. 126 at 75:25–76:1. But what both

Representative Chandler and Representative Strickland did as well was to ask that

more Republicans be put into their districts and that Democrats be taken out. This

movement of voters helped these Representatives get reelected.

      This would be a more obvious case if it were a challenge to partisan

gerrymandering. The state openly acknowledges it redrew Districts 105 and 111

with political ends in mind. Doc. 137 at 25. Of course these plaintiffs did bring a

partisan gerrymandering claim, but this panel dismissed that claim because

plaintiffs did not present us with any judicially manageable method for measuring

discriminatory effect. Doc. 28 at 32–35. And the plaintiffs did not replead that

claim. We are thus left with a racial gerrymandering claim in which all involved

state employees and officials have taken an oath that race played no role in their

decision-making.

      Ms. Wright and her colleagues openly undertook to help Republican

incumbents. In doing so, the 2015 redistricting moved many black voters from

districts where their votes would have made an impact into districts where they did

not. Do voters know the people they elect can and do shed their own voters to

improve their ability to be reelected? It is said that “[t]he object of districting is to

establish fair and effective representation for all citizens.” Vieth v. Jubelirer, 541


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U.S. 267, 307, 124 S. Ct. 1769, 1793 (2004) (Kennedy, J., concurring in judgment)

(quotation omitted). But fair and effective representation is decidedly not what the

voters removed from House Districts 105 and 111 got. Even so, our application of

Supreme Court precedent to the record before us leaves us to conclude that

plaintiffs are not entitled to the preliminary injunction they seek.

      Plaintiffs’ Motion for Preliminary Injunction, Doc. 103, is DENIED.




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DUFFEY, J., concurring.

       I concur in the result only. The plaintiffs’ preliminary injunction motion is

denied because neither the record in this case, nor the law of the land, support that

the plaintiffs are likely to succeed on the merits of their racial gerrymandering

claim. I agree with this conclusion. It is the majority’s reasoning and account of

the record with which I do not agree. The plaintiffs’ weak circumstantial case does

not support the relief plaintiffs request, and certainly does not support the

unnecessary and overreaching statement that the plaintiffs’ case is “compelling.”

       A judicial opinion, especially one that addresses issues on an interim motion,

should present to the parties, and the public generally, objectively-stated facts and

the decisions reached. In an opinion on a preliminary injunction motion, a court’s

responsibility is to state the facts and whether they support preliminary injunctive

relief. It should not speculate on what the facts may ultimately show. Because the

majority opinion departs from these core principles of opinion writing, I do not

join in it.

       The majority opinion concludes with the following statement:

       Ms. Wright and her colleagues openly undertook to help Republican
       incumbents. In doing so, the 2015 redistricting moved many black
       voters from districts where their votes would have made an impact
       into districts where they did not. Do voters know the people they
       elect can and do shed their own voters to improve their ability to be
       reelected? It is said that “[t]he object of districting is to establish fair
       and effective representation for all citizens.” Vieth v. Jubelirer, 541
       U.S. 267, 307, 124 S. Ct. 1769, 1793 (2004) (Kennedy, J., concurring
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       in judgment) (quotation omitted). But fair and effective
       representation is decidedly not what the voters removed from House
       Districts 105 and 111 got. Even so, our application of Supreme Court
       precedent to the record before us leaves us to conclude that plaintiffs
       are not entitled to the preliminary injunction they seek.

Maj. Op. at 23‒24. This part of the majority opinion is just one example of the

editorial-like statements made about this State’s redistricting and election

processes. Although the only claim left in this case is one for racial

gerrymandering, the majority opinion nonetheless sees fit to comment on partisan

gerrymandering in the redistricting process—a claim this Court previously

dismissed and which plaintiffs chose not to replead even though they were given

the opportunity to do so.1 Doc. 28 at 32‒35. In an ongoing election, the results of

which will not be known until November, the majority announces that the voters of

House Districts 105 and 111 were deprived of “fair and effective representation.”

Maj. Op. at 24. These comments are not necessary to the finding that the plaintiffs

are not entitled to the preliminary injunction that they seek.

       I decline to join the majority opinion for other reasons. The first is that the

majority opinion, in some cases rather directly, and in other cases by innuendo,

impugns the veracity of state employee witnesses who testified in depositions


       1
         The issue of partisan gerrymandering is presented in two cases currently before the
Supreme Court—one where the Democrats allegedly engaged in partisan gerrymandering and
the other where Republicans are accused of it. An opinion in these cases is expected in the next
few weeks. See Benisek v. Lamone, 266 F. Supp. 3d 799 (D. Md. 2017), cert. granted,
86 U.S.L.W. 3292 (U.S. Dec. 8, 2017) (No. 17-333); Gill v. Whitford, 218 F. Supp. 3d 837
(W.D. Wis. 2016), cert. granted, 85 U.S.L.W. 3587 (U.S. June 19, 2017) (No. 16-1161).
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under oath. It is in my view inappropriate, at this stage of the case and on the

record here, to malign a witness by suggesting they have offered false testimony

when they have not had the opportunity to testify in-person at a hearing. This is

especially true when the majority states the testimony by the state and defense

witnesses offered must be tested for credibility at a hearing. Maj. Op. at 19.

A party seeking a preliminary injunction has the option to present evidence at a

hearing on their motion. Neither the plaintiffs nor the defendant chose to call these

individuals, and the majority did not request that they testify. As a result, I chose

to watch hours of videotaped depositions, including those of Gina Wright, the

primary map drawer of House Districts 105 and 111, and Dan O’Connor, an

individual whose emails are widely cited by the majority to present its

characterization of the record. Ms. Wright’s and Mr. O’Connor’s live testimony,

and at least that of Dr. Chen’s, the plaintiffs’ expert upon whom the majority

heavily relies, likely would have provided the majority the much-needed credibility

information missing from this action. Having personally watched the videotaped

testimony, I decline to engage in the veracity characterizations embedded in the

majority opinion.

      My second reason for declining to join the majority opinion relates to the

manner in which the record is cited. While I endorse concise writing, the majority

opinion fails to provide critical facts necessary to explain the ultimate conclusion


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reached on plaintiffs’ preliminary injunction motion. I believe it is important to

fully present all of the facts—good and bad—in reaching a fact-based decision of

the kind made here. This is for the benefit of the parties and those who read the

opinion now and in the future, so they can fully understand why the record does

not support the relief requested by the plaintiffs.

       The brevity of the majority opinion fails to adequately accommodate for the

very long record in this case, and it does not provide enough factual support to

show the shortcomings of the plaintiffs’ case. For example, the majority opinion

states: “These Districts were redrawn in 2015, when the racial makeup of the area

was changing. State employees charged with reapportionment brought to light the

‘changing demographics’2 in Henry and Gwinnett Counties.” Maj. Op. at 3. In

making this sweeping generalization, the majority opinion fails to acknowledge

that Representative Randy Nix, chair of the House Reapportionment Committee

from 2013 to 2016, testified that he made the decision to proceed with the

redistricting after he received “several” requests from members during the 2014

legislative session for “minor changes to their [] districts.” Nix Dep., Doc. 124 at




       2
         The term “demographic” does not single out any particular characteristic.
Merriam-Webster Dictionary defines “demographic” to mean “the statistical characteristics of
human populations (such as age or income) used especially to identify markets.” See
https://www.merriam-webster.com/dictionary/demographic. The use of the phrase “changing
demographics” is a typical rhetorical device. In this case it is used to suggest a single
demographic characteristic.
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62:6‒25, 65:1‒66:5.3 Rep. Nix stated that these individuals provided a number of

reasons for the “minor changes,” including wanting to move a boundary to

encompass family members or recently purchased land or reunite previously-split

precincts. Id. at 62:21‒65:17. “[I]mprov[ing] political performance” was also a

primary concern when drawing the maps. Id. at 151:2‒20.

      The majority opinion later implicates Ms. Wright in what the majority casts

as a “group effort,” a sort of cabal, to collectively violate the rights of black voters.

The majority conjures up a group sitting in a room clicking on Maptitude to move

black voters from one district to another with the intent to depress black voting

strength. This image is manufactured from disparate and incomplete

representations of the record, and is admittedly made without the information

necessary to determine if the testimony on which it is based is credible. For


      3
       Q: Did anyone else come to you in 2014 raising any – raising the idea of making
      any changes to their districts?

      A: There were several people that came. I can’t tell you specific names, but there
      were a number of people who came and said, you know, I’d like to do this or this.
      The impact of the previous redistricting had set in, and some had [] family
      members that had been taken out of their district. There was – all of them were
      relatively minor. . . . But those were the basic questions that were coming up with
      and saying we would like to do that. . . .

      Q: Do you recall what parts of the state or what areas folks might have been
      asking about?

      A: There were several in the south Georgia area. I remember that. There was
      some in the Hall County area. There was some in the metro, the northern metro
      area. I remember these specifically. I can’t give you the names, but they were all
      over the state in terms of the people that had asked for changes.
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example, a more complete reading of Ms. Wright’s deposition testimony tells a

different story about the maps she drew, what she sought to accomplish in drawing

them and the “demographics” she considered. She testified:

      Q: Sure. In the course of the whole process of making changes to
      District 105, did anybody reference the changing demographics within
      Gwinnett County?

      A: Yes.

      Q: Do you recall who referenced the changing demographics of
      Gwinnett County?

      A: Most likely me.

      Q: And what is your understanding about the changing demographics
      in Gwinnett County?

      A: Well, you can look at political data. You can look at a lot of other
      data that shows from different election cycles that some of the areas in
      the county that used to vote Republican are now voting Democratic.
      You can see that moving across, even if you look at the most recent
      election data throughout the country, so that’s an indicator that there’s
      change going, you know, going on throughout the county definitely in
      that respect.

      Q: And do you look at race data as well?

      A: I do.

Wright Dep. at 24:8‒25:6. This exchange provides additional context for Ms.

Wright’s use of the word “demographics” and that race is but one element to

consider. It is clear that she did not intend or understand the term to relate only to

racial statistics, despite the majority’s suggestion to the contrary.


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      In the end, the Court has a responsibility to those for whom a judicial

opinion is written. It must provide sufficient information from the record to allow

readers to fully comprehend why the facts and law support a particular result. The

end result here is indisputably correct. A more complete and objective

presentation of the facts, however, would have better shown why the denial of a

preliminary injunction was required in this case and why there is still a need to

carefully and fully consider the evidence in this case to determine what it does and

does not show. That process should be transparent and open to the public.




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